                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      NO. 3:12-00177
                                                  )      JUDGE CAMPBELL
BRANDON DEYONTAE PIPER                            )

                                          ORDER

      Pending before the Court is a Motion to Substitute Counsel for Sentencing Hearing (Docket

No. 121). The Motion is GRANTED.

      It is so ORDERED.

                                                  ____________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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